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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


ARCHER AND WHITE SALES, INC.

               Plaintiff,                                 Civil Action No. 2:12-CV-00572-
                                                          JRG
       v.

HENRY SCHEIN, INC., DANAHER
CORPORATION, INSTRUMENTARIUM
DENTAL, INC., DENTAL EQUIPMENT,
LLC, KAVO DENTAL TECHNOLOGIES,
LLC, DENTAL IMAGING
TECHNOLOGIES CORPORATION,
PATTERSON COMPANIES, INC., AND
BENCO DENTAL SUPPLY CO.,

               Defendants.


         ORDER GRANTING THE PARTIES’ AGREED MOTIONS IN LIMINE

       The Court has considered the parties’ joint motion for the entry of certain, agreed

motions in limine. The Court hereby GRANTS the parties’ joint motion and ORDERS that no

party shall introduce argument, evidence, testimony, or reference to the following subjects,

without first obtaining leave from the Court.

            1. The filing, contents, or rulings on any motions in this case, including without

               limitation motions in limine.

            2. The exclusion of any expert witness’s testimony in another case.

            3. The “win/loss” record of the parties’ expert witnesses, what percentage of the

               time the juries agreed with an expert in other cases, or other matters in which

               counsel may have retained an expert.




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          4. Any reference to the size, income, profits, or locations of any trial counsel and/or

              their law firm, as well as suggesting to the jury or attempting to elicit information

              from witnesses regarding the amount of time or money counsel has spent pursuing

              or defending claims.1

          5. Any reference to opinion or testimony excluded by the Court pursuant to its

              rulings on the parties’ Daubert motions.

          6. Any reference to any factual or legal theories for which the Court grants summary

              judgment.

          7. Any reference to trial consultants (e.g., jury consultants, jury studies, shadow

              juries, mock juries, graphics consultants, or trial consultants).

          8. Any offer to compromise or settle any claim and any statements made in

              connection therewith, after the filing of this lawsuit—including without limitation

              mediation.

          9. Any reference to a party’s failure to call any witness at trial where that witness is

              outside the subpoena power of the Court or the control of the party failing to call

              the witness.

          10. The forms of transportation taken by employees of any party to attend trial.

          11. Any argument or comment to the effect that jurors should place themselves in the

              position of a party in this case.

          12. Any request by one party’s counsel to another party’s counsel for any stipulation

              or agreement in the presence of the jury.



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  For the avoidance of doubt, this Order does not preclude interrogation of expert witnesses
concerning the fees they have charged in this case.

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       SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 26th day of January, 2018.




                                               ____________________________________
                                               RODNEY GILSTRAP
                                               UNITED STATES DISTRICT JUDGE




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